Case 2:20-cv-12356-SDW-LDW Document 41 Filed 08/11/21 Page 1 of 3 PageID: 1469




                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   PALANI KARUPAIYAN, et al.,                         Civil Action No.

                   Plaintiffs,                        20-12356 (SDW) (LDW)

   v.
                                                      ORDER
   L NAGANDA, et al.,

                   Defendants.


        THIS MATTER having come before the Court by way of pro se plaintiff Palani

 Karupaiyan’s motion to seal the docket (ECF No. 32); and

        WHEREAS although styled as a motion to seal the docket in its entirety, as best the Court

 can discern, plaintiff seeks to remove any information from the public docket that would reveal

 his address or location to defendant Nagananda because defendant allegedly sent him a threatening

 email using red font and requested his address (Id. ¶ 4); and

        WHEREAS plaintiff also claims that he filed unspecified records relating to his minor

 children on the docket (Id. ¶ 7); and

        WHEREAS there is “a common law public right of access to judicial proceedings and

 records.” In re Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001). This “strong presumption of

 openness does not permit the routine closing of judicial records to the public.” In re Avandia

 Mktg., Sales Practices & Prods. Liability Litig., 924 F.3d 662, 672 (3d Cir. 2019) (quotation

 omitted). Thus, “the party seeking to seal any part of a judicial record bears the heavy burden of

 showing that the material is the kind of information that courts will protect and that disclosure will

 work a clearly defined and serious injury to the party seeking closure. A party who seeks to seal
Case 2:20-cv-12356-SDW-LDW Document 41 Filed 08/11/21 Page 2 of 3 PageID: 1470




 an entire record faces an even heavier burden.” Miller v. Indiana Hosp., 16 F.3d 549, 551 (3d Cir.

 1994) (quotations omitted); and

         WHEREAS Local Civil Rule 5.3(c)(3) requires a party seeking to seal materials filed with

 the Court to file a motion that describes “(a) the nature of the materials or proceedings at issue, (b)

 the legitimate private or public interest which warrants the relief sought, (c) the clearly defined

 and serious injury that would result if the relief sought is not granted, and (d) why a less restrictive

 alternative to the relief sought is not available.”; and

         WHEREAS to the extent plaintiff seeks to seal the entire docket and all documents filed

 over the past eleven months, the request is denied because Local Civil Rule 5.3(e) provides that

 “[n]o docket shall be sealed. However, entries on a docket may be sealed pursuant to the

 provisions of this rule.”; and

         WHEREAS to the extent plaintiff seeks to seal any address information on the docket, a

 pro se plaintiff’s address is not the kind of information that courts typically protect, and it does not

 appear that the publicly available docket entries in this matter actually reveal any such information

 as plaintiff alleges that he was evicted and does not have a current home address (ECF Nos. 1, 7,

 18, 31); and

         WHEREAS plaintiff has not established that physical harm to himself or his family is

 likely to occur if information plaintiff himself filed, which has been publicly available for nearly

 a year, is not sealed; and

         WHEREAS plaintiff does not identify any specific personal, confidential, or otherwise

 sensitive information that has been filed on the public docket, nor has he identified a legitimate

 private interest or serious injury that would result absent sealing sufficient to overcome the

 presumption of public access to judicial records; and



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Case 2:20-cv-12356-SDW-LDW Document 41 Filed 08/11/21 Page 3 of 3 PageID: 1471




         WHEREAS plaintiff has not established that any documents filed in this matter contain

 “highly sensitive information a) that is likely to be of interest to the intelligence service of a hostile

 foreign government and whose use or disclosure by such a government would likely cause

 significant harm or b) whose disclosure could jeopardize the safety of specific individuals” such

 that they could be considered Highly Sensitive Documents under the District Court’s January 26,

 2021 Standing Order 2021-01; therefore,

         IT IS on this day, August 11, 2021, ORDERED that:

     1. Plaintiff’s motion to seal is DENIED. If plaintiff seeks to seal any specifically identifiable

         confidential or personal information contained in a publicly filed document, he may so

         request in accordance with Local Civil Rule 5.3(c). To the extent plaintiff’s voluminous

         complaints and other filings include the full name or other personal identifying information

         of any minor child, he is directed to submit redacted copies of those documents in

         accordance with Local Civil Rule 5.2.

     2. The Clerk of Court is directed to terminate the motion at ECF No. 32.

                                                    s/ Leda Dunn Wettre
                                                   Hon. Leda Dunn Wettre
                                                   United States Magistrate Judge




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